          Case 1:12-cr-20947-JAL Document 1 Entered on FLSD Docket 12/26/2012 Page 1 of 15

                                                                                                    DEC 21, 2012
                                      UNITED STATES DISTRICT CO URT
                                      SO UTHERN DISTRICT O F FLO RIDA

                                 CASE NO.12-20947-CR-LENARD/O'SULLIVAN
                                               21U.S.C.jj331(k),333(a)(2),and352(a)
                                               18U.S.C.j371
                                               18U.S.C.j2315
                                               18U.S.C.j2314
                                               18 U.S.C.j659
                                               18U.S.C.j981(a)(1)(C)
                                               21U.S.C.j853
           UNITED STATES OF AM ERICA

           V.

           ADRIAN M ARINO ,
           a/k/a ddAlex Gonzalez.''
           HENRY TARRIO,JR.,and
           ROBERTO M ARINO,

                         D efendants.
                                                 /

                                                 INDICTM ENT
                 TheGrand Jury chargesthat:

                                          GENERAL ALLEG ATIONS

                 Ata11tim esrelevantto thislndictment:

                             FO OD.DRUG.& COSM ETIC ACT REGULATIO NS

                        The United StatesFood and Drug Administration (the :iFDA'')was the federal
          agency charged with the responsibility ofprotecting thehealth and safety oftheA
                                                                                            m erican public
          by enforcing the FederalFood, Drug,and CosmeticAct(theSV
                                                                 FDCA'),which wascodified at
          Title 21,United States Code, Sections 301-397. One purpose of the FD CA w as to ensure that

          m edicaldevices sold forhum an use were safe, effective,and bore labeling containing only tnze

          and accurate inform ation. The FDA 'S responsibilities underthe FDCA include regulating th
                                                                                                    e




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            manufacturing,labeling, and distribution ofallmedicaldevicesand m edicaldevice compo
                                                                                                       nents
            shipped and received in interstatecommerce.

                  2.      Under the FD CA , a çkdevice''was detsned, in relevant part,as k'an instrum ent
                                                                                                         ,

           apparatus,implement,machine, contrivance,im plant,in vitro reagent orothersimilarorrelated
                                                                                 ,

           article,including any component, part,oraccessory,which gwasl...intended foruse in the

           diagnosis ofdisease or otherconditions, or in the cure,m itigation
                                                                             ,   treatment,orprevention of
           disease,in man orotheranim als, orintended to affecttht structure or funetion ofthe body of

           m an or other animals, and which does not achieve its prim axy intended pum
                                                                                             oses through
           chem icalaction within oron the body ofman or otheranimalsand whi
                                                                                     ch (was!notdependent
           upon being m etabolized fortheachievementofitsprimary intended pum oses.
                                                                                   '' Title 21,United
           StatesCode,Section321(h)(2)and(3).A diabeticteststripwasconsideredaûçdevice''underthe
           FDCA 'Sdefinition.

                         Underthe FDCA,a device wasdeem ed ii
                                                            m isbranded''ifits labeling was false or

          m isleading in any particular. Title 21,United StatesCode,
                                                                     Section 352(a). isLabeling,''in turn,
          wasdefined by theFDCA as%$alllabelsand otherwritten, printed,orgraphicmatter(1)uponany

          article orany ofitscontainersorwrappers, or(2)accompanying such article.'' Title21,United

          StatesCode,Section321(m).
                 4.      The FDCA m adeunlawfulthedoing ofany actto adevice, orthecausing thereof,
          while the device was held for sale, afterthe device's shipm entin interstate com merce
                                                                                                 ,   w hich
          resultsin thedevicebeingm isbranded. Title 21,United StatesCode,
                                                                           Section331(k).
                                                 C O U NT 1
           M isbranding FDC A Devices W hile H eld for Sale after Shipm entin Int
                       (Titl                                                 erstateCommerce
                           e21,United StatesCode,Sections331(k),333(a)(2),and 352(a))


                                                          2



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                      Paragraphs 1 through 4 ofthe GeneralAllegations section ofthis lndictm ent are re-
            alleged and incom orated by referenceasthough fully setforth herein.

                      From on or about September 15, 20l1,through on or about August 17 2012, in
                                                                                       ,

           M iami-Dade County, in the Southern DistrictofFlorida, and elsewhere,thedefendants
                                                                                              ,


                                               ADRIAN M ARINO,
                                              a/k/a çsAlex G onzalezy''
                                              H ENRY TARRIO ,JR.,
                                                        and
                                              ROBERTO M ARINO,
           acting with intentto defraud and m islead, did,whiledevices,thatis, AbbottLabsFreestyle Lite

           diabetic test strips,were held for sale, and aher said devices had been shipped in interstate

           commerce,replace the manufacturer's labeling on the deviceswith labeling thatincluded false

           information,that is,false lotnum bers and false expiration dates which resulted in the Abbott
                                                                           ,

           LabsFreestyle Litediabetic teststripsbeing m isbranded while held forsale within the m eaning

           of Title 21,United States Code, Section 352(a),in violation ofTitle 21,United StatesCode
                                                                                                      ,


           Sections331(k)and333(a)(2),andTitle18,UnitedStatesCode, Section 2.
                                                  CO UNT 2  -

                              Conspiracy to Receive,Possess,and SellStolen G oods
                                    (Title18,United StatesCode,Section371)
                     From in or around June 2011, the exact date being unknown to the Grand Jury
                                                                                                ,

              through on oraboutAugust 17, 2012, in M iam i-D ade County, in the Southern Districtof

             Florida,and elsewhere,thedefendants,

                                              ADRIAN M ARINO ,
                                             a/k/a diA lex G onzalezy''
                                             H EN R Y TA R RIO ,JR ..




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                                                     and
                                               ROBERTO M ARINO ,
            did knowingly and intentionally combine, conspire,confederate,and agree w ith each otherand

           with persons known and unknown to the Grand Jury to comm itan offense against the U nited

           States,that is,to knowingly receive, possess,conceal, store,barter, sell,and dispose of any

           goods,wares and merchandise, valued at$5,000 orm ore,which had crossed a State boundary

           after being stolen,unlawfully converted, and taken,knowing the same to have been stolen
                                                                                                  ,

           unlawfully converted,and taken, in violation ofTitle 18, United StatesCode,Section 2315
                                                                                                     .



                               O BJECT AND PURPO SE OF TH E CO NSPIRACY

                      It was the object and pumose of the conspiracy for the defendants and their
           coconspirators to unlawfully emich them selves by receiving,possessing,concealing
                                                                                                ,   storing,
           bartering,selling,and disposing ofstolen goods, thatis,AbbottLabsFreestyle Lite diabetic test

           strips.

                               M ANNER AND M EANS OF THE CONSPIR ACY

              The maM er and m eans by which the defendants and their coconspirators sought to

          accomplishtheobjectandpumoseoftheconspiracy included,amongothers, thefollowing:
              2.     ADRIAN M ARINO,H ENRY TARRIO , JR., RO BERTO M ARINO and their
                                                                         ,

          coconspiratorscame into possession ofwholesale quantities ofFDA - regulated medicaldevices,

          thatis,Abbott Lab Freestyle Lite diabetic teststrips, thatwere stolen in oraround June 2011

          from a m otor truck or trailer in Louisville, Kentucky (hereinafter,referred to as the iéstolen

          Lot'').
                     AD R IA N M A R IN O , H EN R Y TA RR IO , JR ., R O BER TO M A R IN O and their
                                                                                           ,

          coconspiratorssold wholesale quantities ofthe Stolen Lotin the State ofFlorida and elsewhere,

          knowing thatthe diabetic test strips had been obtained from unlawful channels of wholesale


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          Case 1:12-cr-20947-JAL Document 1 Entered on FLSD Docket 12/26/2012 Page 5 of 15



           distribution.

               4.      ADRIAN M AR INO, H ENRY TARRIO , JR.,and ROBERTO M ARINO sold

           diabetic teststrips from tht Stolen Lotata price wellbelow theirtypicalwholesale acquisition
                                                                  -




           costand fairm arketvalue.

                       ln selling the Stolen Lot, ADRIAN M ARINO , H EN R Y TA RR IO , JR., and

           ROBERTO M ARINO caused the stolen diabetic test strips to be distributed into interstate

           commerce, where they eventually were acquired by mid-level and retail pharmaceutical

           com panies,some ofwhich filledprescriptionsforunsuspecting customers.

              6.      To avoid detection ofthe schem e, AD R IA N M A R IN O , H EN RY TA R R IO , JR .,

           and ROBERTO M ARINO falsified the true and accurate lotnumbers on the packaging forthe

           Stolen Lot,in order to create the fiction that the diabetic test strips had been acquired and

          distributed lawfully.

                                                   O V ER T A CT S

                   In furtherance ofthe conspiracy and to achieve theobjectand purposethereof, atleast
          one ofthe coconspirators comm itted and caused to be com mitted, in the Southern District of

          Florida,andelsewhere,atleastone ofthefollowing overtacts, am ong others:

                           ln September 2011, a known coconspirators in M iami, Florida, contacted an
          individual in Califom ia who was in the business ofbuying and selling medicalsupplies and
                                                                                               ,


          offered to sell that person Abbott Labs Freestyle Lite diabetic test strips well-below market

          value.

                           On or about Septem ber 15, 2011, in M iam i, Florida,A D RIA N M A R IN O sold

          2,000 boxesofstolen AbbottLabsFreestyle Lite diabetic teststripsto a confidentialinformant
                                                                                                       ,

          posing as one ofthe Califom ian'sbusinessacquaintances, for$14,000.




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                          On or aboutNovem ber 16, 2011,in M iam i, Florida,ADRIAN M ARINO sold

            976 boxes ofAbbottLabs Freestyle Lite diabetic test strips from the Stolen Lot
                                                                      ,                   ,to $kJ,P.''for
            $19,000.

                          On or aboutNovem ber 28, 2011,in M iami,Florida, ADRIAN M ARINO and

           H ENRY TARRIO ,JR.attempted to sell5,000 boxes of AbbottLabs Freestyle Lite diabetic

           teststrips,from theStolen Lot, to 4$T.L.''and $$Y.L.''

                  5.      On oraboutJune22, 2012,in M iami,Florida, ADRIAN M ARINO and HENRY

           TARRIO,JR.sold 1,200 boxes of AbbottLabs Freestyle Lite diabetic test strips,from the

           Stolen Lot,to kiS.A .'' and tiE.V.''for$13,200.

                         On or about August 17, 2012, in M iam i,Florida, ROBERTO M ARINO and

           HENRY TARRIO,JR.sold 2,000 boxesofAbbottLabsFreestyleLite diabeticteststrips
                                                                                                         ,   from
           theStolen Lot,to an undercoverlaw enforcem entofficer, for$22,000.

                  A11in violation ofTitle 18, United StatesCode,Section 371.

                                                 CO UNT 3
                     Possessing,Concealing,Storing, Selling,and Disposing ofStolen G oods
                                    (Title18,United StatesCode,Section 2315)
                     On or about June 22, 2012, in M iami-Dade County, in the Southern District of
              Florida,and elsew here, thedefendants,

                                                ADRIAN M ARINO,
                                              a/k/a édAlex G onzalez,''
                                                        and
                                              H ENR Y TAR R IO ,JR .,
          did knowingly receive, possess,conceal,store,barter,sell,and dispose ofany goods
                                                                                            ,   wares,and
          merchandise,valued at$5,000 or more, thatis,AbbottLabs Freestyle Lite diabetic teststrips
                                                                                                               ,

          which hadcrossed aStateboundary afterbeing stolen, unlaw fully converted,and taken
                                                                                                ,   know ing
          the same to have been stolen, unlawfully converted,and taken, in violation of Title 18
                                                                                                    ,   United


                                                         6

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            StatesCode,Sections2315 and 2.

                                                   COUNT 4
                      Possessing,C oncealing,Storing, Selling,and Disposing ofStolen Goods
                                    (Title18,UnitedStatesCode,Section2315)
                      O n or about A ugust 17, 2012,in M iami-Dade County in the Southern Districtof
                                                                         ,

               Florida,and elsewhere,thedefendants,

                                              HENRY TARRIO ,JR.,
                                                    and
                                              ROBERTO M ARINO,
           did knowingly reeeive, possess,conceal,stort,barter,sell,and dispose ofany goods
                                                                                              ,   wares,and
           merehandise,valued at$5,000 orm ore, thatis,AbbottLabs Freestyle Lite diabetic teststrips
                                                                                                             ,

           which had crossed a State boundary afterbeing stolen, unlawfully converted,and taken
                                                                                                  ,   know ing
           the sam e to have been stolen, unlawfully converted,and taken in violation of Title l8
                                                                        ,                        , Uni
                                                                                                     ted
           StatesCode,Sections2315 and 2.

                                                COUNT 5
              Transporting,Transm itting,and Transferring Stolen Goodsin InterstateCom m erce
                                   (Title18,United StatesCode,Section2314)
                     On or about June 22, 2012, in M iam i-Dade County in the Southern District of
                                                                      ,

              Florida,and elsewhere, thedefendants,

                                              ADRIAN M ARINO ,
                                             a/k/a SdA lex G onzalez,''
                                                        and
                                             HENRY TARRIO,JR.,
          did knowingly transport, transm it,and transfer in interstate commerce any good
                                                                                         , ware, and

          merchandise,ofthe value of $5,000 or more, thatis,AbbottLabs Freestyle Lite diabetic test
          strips,knowing the sam e to have been stolen, converted,and taken by fraud,in violation ofTitle

          18,United StatesCode, Sections2314 and 2.




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                                                   COUNT 6
                   Receiving and Possessing GoodsStolen from an lnterstateShipm entofFreight
                                        (Title18,UnitedStatesCode.Section659)
                        On or about June 22, 2012, in M iam i-Dade County, in the Southern District of

                Florida,and elsewhere, thedefendants,

                                                 AD R IA N M A RIN O ,
                                               a/k/a idAlexG onzalez,''
                                                         and
                                               H ENRY TARRIO ,JR.,
           did knowingly receive and have in their possession
                                                                ,   goods valued at $1,000 or m ore,thatis,
           AbbottLabs Freestyle Lite diabetic teststrips, which had been stolen unlawfully taken,and
                                                                               ,

           carried away from am otortruck and trailerin Louisville, Kentucky,which were moving as
                                                                                                         ,   and
           which werea partof,and which constituted, an interstate shipm entoffreight
                                                                                        ,   know ing the sam e
           to have been stolen, in violation ofTitle 18, United StatesCode Sections659 and 2.
                                                                          ,


                                          FORFEITURE ALLEGATIONS
                   1.     The allegations of this lnfonnation are re alleged and incorporated herein by
                                                                       -



           reference for the purpose of alleging forfeitures to the United St
                                                                            ates of Am erica of certain
          property in which the defendants, ADRIAN M ARINO , a/k/a SdA lex G onzalezq'' H EN RY

          TARRIO ,JR.,and RO BERTO M ARINO , havean interest.

                          Upon convietion of any of the violations alleged in Counts 1 - 6 of this

          lndictment,the defendantts)shallimmediately forfeitallofhisrights, title,and interestto the
          United States to any property, realorpersonal,which constitutes or is derived from proceeds

          traceabletosuchviolationts),pursuanttoTitle 18, United StatesCode, Section981(a)(1)(C).
                         Theproperty which issubjectto forfeitureincludes, butisnotlim ited to, A bbott
          LabsFreestyle Lite diabetic teststrips, which are traceable to the com m ission ofthe violations

          alleged in thislndictm ent.



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                 Allpursuantto Title 18,United StatesCode,Section 981(a)(1)(C),asmade applicable
           heretobyTitle28,UnitedStatesCode,Seetion2461(c),andtheproceduressetforth inTitle21,
           United States Code,Sed ion 853.

                                                 A TRU E BILL



                                                          '
                                                           ,. !
                                                              j       I
                                                 FOREPERSO N




           t                   GQ
          W RED O A . ERRER
          UN ITED STA TES A TTORN EY




                    r. .
            AN ESSA S GH O HAN NES
          A SSISTANT UNITED STATES ATTORN EY




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                                       UNITED STATES DISTRICT COURT
            Case 1:12-cr-20947-JAL Document 1 Entered
                                       SOUTHERN        on FLSD
                                                 DISTRICT       Docket
                                                          OF FLORIDA 12/26/2012 Page 10 of 15

           UNITED STATES OF AMERICA                           CASE NO.
           V.
                                                              C ERTIFICATE O F TRIAL ATTO RNEY.
           a
           ADRI
            /wajN
                Ale
                  MARI
                  xoon
                     NO
                      zklez''
           R
           HENRY TARRIO JR., $nd
            OBERTO MARiNo,
                                     Defendants.
                                                   /          Superseding Case Inform ation:

           Coud Division:(selectone)                         New Defendantts)
                                                             N                                 Yes         No
                                                              umberofNew Defendants
            X F
              Mi
               Taumi                 v
                                     KveIBWest     FTp       Totalnumberofcounts

                  ldo herebycerti
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                                      yconsideredtheallegationsRftheindi
                                                                       ctm:ntthenumber9fdefenda
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                                                             ed Pn thij ltatementwillbe relied u
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                                           rpalendarsan dschedullngcrlmlnaltrlalsunderthem andatpon by the Judges ofthis
                          Tl         CLSectlon 3161
                           tle 28 U.S.                   .
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                                                                                                     he Speed-yTrialAct      ,

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                 4.       This case willtake       3-5       days forthe parti
                                                                             es to try.
                 5.       Please checkappropriatecategoryandNpe ofoffenseIisted below:
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                                                                                eckonlyone)
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                          6 to 10 days                                                 P#tty
                          11to 20 days                                                 Mlnor
                          21to 60 days                                                 Mlsdem .
                          61 daysand over                                              Felony

                 6,
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                 f        Hasthiscase been previouslyfiledinthisDistrictCoud? (YesorNo)              Nln
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                                                                     NESSA ,JOHANNES
                                                                   ASSISTANT UNITED STATES ATTORNEY
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                                      UNITED STATES DISTRICT COURT
                                      SO UTH ERN DISTRICT O F FLORIDA

                                                 PEN A LTY SH EET

            Defendant'sNam e:ADRIAN M ARINO

            C ase No:

            Count:1

            M isbranding FDCA DevicesW hileHeld forSaleafterShiom entin lnterstateCommerce

            Title21.United StatesCode.Section 331(k).(333)(a1(2b.and 3524a1

            # M ax.Penalty:10 Years'Im prisonm ent

            Count:2

            Conspiracyto Receive.Possess.and SellStolen Goods

            Title 18.United StatesCode.Section 371

            * M ax.Penalty:5 Years'lm prisom nent

            Counts:3-4

            Possessing.ConcealinR.Storing.Selling.and Disposinc ofStolen Goods

            Title 18.U nited States Code.Section 2315

            * M ax.Penalty:10 Years'lm prisonm ent

            Count:5

            Transporting.Transm itting.andTransferring Stolen Goodsin lnterstateCom merce

            Thle 18.United StatesCode.Section 2314

            * M ax.Penalty:10 Years'Im prisonm ent




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            Count:6

            Receiving and Possessing G oods Stolen from an lnterstate Shipm entofFreicht

            Title 18.United StatesCode.Section 659

            * M ax.Penalty:10 Years'lm prisonm ent

            *R efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,paroleterms.or forfeituresthatm ay beapplicable.




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           Case 1:12-cr-20947-JAL Document 1 Entered on FLSD Docket 12/26/2012 Page 13 of 15



                                      UNITED STATES DISTRICT COURT
                                      SO U TH ER N D ISTR IC T O F FLO R IDA

                                                  PEN A LTY SH EET

            D efendant's N am e:H EN R Y TAR R IO .JR .

            C ase N o:

            Count:1

            M isbranding FD CA D evices W hile H eld forSale after Shipm entin lnterstate Com m erce

            Title21.United StatesCode.Section 331(k).(333à(ab(2).and 352(a)

            * M ax.Penalty'
                          .10 Y ears'lm prisonm ent

            Count:2

            Conspiracvto Receive.Possess.and SellStolen Goods                              .

            Title 18.United StatesCode.Section 371

            * M ax.Penalty:5 Y ears'lm prisonm ent

            Counts:3-4

            Possessing,Concealing.Storing.Selling.and Disposing ofStolen Goods

            Title 18.U nited States Code.Section 23l5

            * M ax.Penalty:10 Y ears'lm prisonm ent

            Count;5

            Transporting.Transmittinz.and Transferring Stolen Goodsin lnterstateCom merce

            Title 18pUnited StatesCode.Section 2314

            * M ax.Penalty:10 Y ears'lm prisonm ent




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           Case 1:12-cr-20947-JAL Document 1 Entered on FLSD Docket 12/26/2012 Page 14 of 15



            Count:6

            Receiving and PossessingGoodsStolen from an lnterstateShipm entofFreight

            Title 18.United StatesCode.Section 659

            * M ax.Penalty:10 Y ears'lm prisonm ent

            ARefers only to possible term of incarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.




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           Case 1:12-cr-20947-JAL Document 1 Entered on FLSD Docket 12/26/2012 Page 15 of 15



                                     UN ITED STATES DISTRICT CO URT
                                     SOUTHERN DISTRICT OF FLORIDA

                                                PEN A LTY SH EET

            D efendant's N am e;R O BER TO M A R IN O

            C ase N o:

            Count:1

            M isbrandingFDCA DevicesW hile Held forSaleaherShipm entin lnterstate Comm erce

            Title21.United StatesCode.Section 331(k).(333à(a)(2).and 3524a)

            # M ax.Penalty:10 Years'lm prisonm ent

            Count:2

            Conspiracyto Receive.Possess.and SellStolen Goods

            Title 18.United StatesCode.Section 371

            * M ax.Penalty:5 Years'lm prisonm ent

            Count:4

            Possessinz.Concealinc.Storinc.Bartering.Selling.and Disposing ofStolen Goods

            Title 18.U nited States Code.Section 2315

            * M ax.Penalty:10 Y ears'lm prisonm ent




            WR efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.




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